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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION

UNM RAINFOREST INNOVATIONS                  CIVIL ACTION NO. 6:20-CV-243-ADA

           Plaintiff,
v.
                                            JURY TRIAL DEMANDED
GLOBALFOUNDRIES INC.,
GLOBALFOUNDRIES U.S. INC., and
GLOBALFOUNDRIES U.S. 2 INC.,

           Defendants.


                   Plaintiff’s Responsive Claim Construction Brief
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       In accordance with the Court’s Agreed Scheduling Order (Dkt. 24), Plaintiff UNM

Rainforest Innovations (“UNM”), formerly known as STC.UNM, submits this Responsive Claim

Construction Brief to rebut the arguments made in Defendants Opening Brief (“Defs.’ Brief”)

regarding disputed claim terms in U.S. Patent No. 9,142,400 (“the ’400 Patent”).

I.     Introduction

       Defendants cannot show that the steps of the claimed method must be performed in the

order recited in the claim. While the recited order is one way to perform the method, it does not

represent the exclusive order of steps. In attempting (unsuccessfully) to prove that the recited order

is the only way to perform the claimed method, Defendants misread the claims, rewrite claim

elements, and ignore the specification. Neither the plain language of the claims nor the

specification’s teachings necessitate the recited order.

       Defendants also ask the Court to find as a matter of law that the claimed “seed area”—the

construction of which Defendants do not challenge—somehow disappears as the claimed method

is performed. Defendants jettison all common sense and try to impose an unsupported grammatical

interpretation of the claim language in order to force an indefiniteness argument. In so doing,

Defendants play fast and loose with intrinsic record and ignore the fact that their own expert had

no indefiniteness concerns nine months ago when he provided testimony in support of other

defendants’ claim construction arguments. Claims cannot be held indefinite when an alternative

interpretation is definite, especially where, as here, the interpretation offered by Defendants is

tortured and unsupported by the intrinsic record. The Court should reject Defendants’ novel and

baseless argument.

       Finally, Defendants offer scant support for their unnecessary additions to this Court’s prior

constructions of “heteroepitaxial layer” and “selective growth mask layer.”



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II.    Disputed Claim Terms

       A.      Order of Claimed Steps

       Defendants argue that the steps of the claimed method must be performed in the order

recited in the claim. Defendants attempt to impose an order based on a rewriting of claimed steps

and unjustified rhetorical leaps. Defendants also overlook salient portions of the specification that

undermine their arguments.

       Defendants’ argument suffers from three fundamental errors. First, Defendants

misapprehend (or misstate) what happens in the second recited step, “Step 2,” according to

Defendants’ convention. In their Brief at page 6, Defendants argue that Step 2 must occur before

Step 3 because the “mask layer cannot be formed on the top surface (surface that forms a ‘seed

area’) and the side surface of the pedestal unless a pedestal with top and side surfaces has been

formed.” Defendants gloss over the portion of the step involving formation of the seed area but

later say that the “seed area” is formed in Step 2. Defs.’ Br. at 7. As explained in UNM’s Opening

Brief at 11–12, the “seed area” is not formed in Step 2. Step 2 discloses characteristics of the “seed

area” ultimately formed, including location (top surface) and linear surface dimension ranging

from about 10 nm to about 100 nm, but the seed area is created in later steps.

       The claim language confirms this. Step 2 discloses forming the pedestal on the substrate

and gives certain required characteristics, i.e., a top surface and a side surface. Step 3 discloses

providing a selective growth mask layer on the pedestal’s top and side surfaces. Step 4 discloses

removing a portion of the selective growth mask layer to expose the seed area. These are actions

performed by the user (or infringer) of the claimed method. These steps stand in contrast to the

clause in Step 2 about the “top surface forming a seed area.” The top surface does not perform an

action. The top surface is a location on the pedestal. It is incapable of “forming,” “providing,” or

“removing” as used in the claimed steps. Rather, the “forming” by the top surface relies on another

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meaning of the word “forming,” one that connotes the more figurative meaning of the word, like

how a fence would “form” the boundary of a property. Adopting Defendants’ view would require

reading out the second instance of “top surface” in Step 2. Accordingly, to the extent that

Defendants argue that the seed area is formed in Step 2—it is not—then Step 2 cannot occur before

Step 3.

          Second, Defendants incorrectly argue that Step 4 must occur before Step 5. Defs.’ Br. at 7.

To make this argument, Defendants impermissibly modify the claim language. Step 5 states

“selectively etching back the exposed top surface of the pedestal.” Defendants say that the top

surface was “exposed” in the previous Step 4 and “the exposed top surface cannot be etched back

in Step 5 unless the top surface of the pedestal was exposed in Step 4.” Id. But Step 4 does not say

expose the “top surface.” Step 4 says “expose the seed area of the pedestal.” While the seed area

exists on the top surface, both the claims and the specification distinguish between “top surface”

and “seed area.” Contrary to Defendants’ suggestion, the terms are not blindly interchangeable.

          Because of the difference between the two terms, Step 4 need not necessarily occur before

Step 5. For example, Step 5 could occur after formation of the pedestal in Step 2. At that point, the

pedestal’s top surface is exposed (because the selective growth mask layer has not been applied),

and the pedestal may be etched back before the selective growth mask layer is applied. This etching

back could be done, for example, to optimize the height or shape of the pedestal. See, e.g., ’400

Patent at 5:5-25 (discussing pedestal composition and dimensions). The specification’s discussion

of Figure 2 is illustrative. In Figure 2, the dimensions of the pedestal are modified using thermal

oxidation to form the silicon dioxide selective growth mask layer. According to the specification,

the “thermal oxidation process consumes the substrate material, so that the thicker the silicon

dioxide layer, the smaller the resulting width dimension of the final pedestal 12.” Id. at 6:59-63.



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The specification adds, “Alternatively, the pedestal 12 can be patterned to the desired final

dimension during the etching step; followed by forming a selective growth mask layer to delineate

the seed area by a process that does not consume the silicon to reduce the dimensions of the

pedestal 12.” Id. at 6:66–7:3 (emphasis added). The specification thus describes a procedure during

which the pedestal of a certain size or shape is patterned during an etching step before the selective

growth mask layer is formed, which disproves Defendants’ argument that Step 4 must occur before

Step 5. Defendants do not—indeed, cannot—reconcile their position with this portion of the

specification.

       The portions of the specification cited by Defendants do not support their position. In

particular, Defendants point to the specification’s discussion that “a portion of the selective growth

mask layer 14 is removed to expose at least the top surface.” Defs.’ Br. at 8. But, again, the

specification does not say that the selective growth mask layer is removed to expose the “seed

area.” The specification states that the exposed top surface can be used as the seed area, or the

exposed top surface can be etched back in order to create sidewall barriers. See ’400 Patent at 5:51-

67; 7:21-36. In either case, there is a difference between the “top surface” and the “seed area.”

Indeed, the specification does not begin referring to a “seed area” until the final area of intended

growth is prepared.

       In short, the specification does not mandate that Step 4 occur before Step 5. In fact, the

specification shows that Step 5 can occur before Step 4, as discussed above. Accordingly, the Court

should reject Defendants’ argument that the claimed steps must be performed in the order recited.

       B.        “growing a heteroepitaxial layer on the seed area”

       This term is not indefinite. Defendants argue that a heteroepitaxial layer cannot be grown

on the “seed area” because the “seed area no longer exists because it was removed by the ‘etching

back’ of Step 5.” Defs.’ Br. at 10. No reasonable person of ordinary skill in the art, reading the
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claims in light of the specification, would understand that the “seed area”—an important aspect of

the invention’s novelty (see ’400 Patent at 3:61-4:5)—would be “removed” by any step in the

claimed process. Such a conclusion would be divorced from the technical understanding of the

skilled artisan.

        Defendants purport to walk through the claimed steps to show the disappearing “seed area.”

Their argument suffers from serious defects. First, Defendants argue that the seed area is formed

in Step 2, but as discussed above, the second claimed step does not form the seed area. Rather, it

describes the location and dimensions of the seed area that will be formed. Step 2 describes the

formation of the pedestal, to be sure, but only provides that the seed area will be on the top surface

and will have certain dimensions. 1

        Defendants argue that “the specification refers to the pedestal’s top surface as shown in

Figure 1A as a seed layer.” Defs.’ Br. at 11. The specification does not say that. Rather, the

specification states that the pedestals “are comprised of any suitable material capable of acting as

a seed layer for subsequent epitaxial growth.” ’400 Patent at 5:6-8. That the pedestals are made of

a material that could be used as a seed layer does not mean that the top of the pedestal as shown in

Figure 1A is the “seed area” disclosed in the claims.

        Next, Defendants argue that Step 3 requires providing a mask layer that “covers both the

top surface (i.e., seed area) and the side surface of the pedestal.” Defendants again take liberties

with the claim language. Step 3 does not mention a “seed area.” Defendants try to sneak in this

element in order to support their view that the “seed area” was formed in the previous step, but the

claimed step does not mention a seed area.




1
 Notably, Defendants must change the tense of the claim to “form[s]” in order to make their argument.
Defs.’ Br. at 11.
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       The following step, Step 4 according to Defendants, is “removing a portion of the selective

growth mask layer to expose the seed area of the pedestal.” Defendants contend that Figure 1C

“depicts that the seed area 16 (i.e., the same top surface of the pedestal formed in Step 2) has been

exposed by removal of a portion of the mask layer.” Defs.’ Br. at 12. As a threshold point,

Defendants erroneously state that element 16 refers to the “seed area.” In truth, element 16 refers

to the top surface of the pedestal. See ’400 Patent at 5:38-40 (“Referring to FIG. 1C, a portion of

the selective growth mask layer 14 is removed to expose at least the top surface 16 of the

pedestal.”). As discussed in the preceding section, Defendants cannot prove their point by mixing

and matching claim terms.

       Further, in Defendants’ view this step removes the selective growth mask layer from the

top of the pedestal, leaving everything else untouched. But as the specification contemplates:

       Various suitable methods can be employed to selectively remove the top portion of
       the selective growth mask layer. Examples include anisotropically etching to
       selectively remove the selective growth mask layer from the top surface of the
       pedestal; or formation of a non-conformal layer, such as by depositing and
       reflowing a layer followed by an etch back process. The etch back process can
       employ polishing, such as chemical mechanical polishing.

’400 Patent at 5:40-47. Some of these methods, such as chemical mechanical polishing, could

remove more of the top surface of the pedestal than existed before application of the selective

growth mask lawyer—much like sanding wood removes the top layers of the wood itself.

Accordingly, Defendants go too far in arguing that the seed area exposed in this step is the “same

top surface of the pedestal formed in Step 2.” As the specification makes clear, that is not always

the case.

       Further, under Defendants’ flawed view that the “seed area” was formed earlier in the

process and is coextensive with the top surface, this step risks likewise removing the “seed area.”




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But the result of this step is that the “seed area” is exposed. The “seed area” cannot be exposed at

the same time it is removed. This dooms Defendants’ argument and their reasoning.

        The next recited step is “selectively etching back the exposed top surface of the pedestal.”

Defendants argue that during this step, “the seed area that was formed in Step 2 and re-exposed in

Step 4 is removed from the pedestal.” Defs.’ Br. at 12. Defendants provide an annotated version

of Figure 1D to show “a new (lower) top surface” and a “red highlight” where the “original top

surface (i.e., the seed area) used to exist.” Id.




        Defendants argue that a heteroepitaxial layer cannot be grown in the final recited step

because that step requires growing the layer on the same “seed area” recited in the earlier steps

and that “seed area” no longer exists because it was etched away. Id at 13.

        A reasonable person of ordinary skill in the art would not distort the claimed steps in the

way Defendants do, would not consider the red highlight to be the only “seed area,” and would not

understand the “seed area” to be destroyed by the preceding steps. See Plaintiff’s Ex. 5 (Decl. of

Prof. R. Harris) at ¶¶19–25. Instead, a person of ordinary skill in the art would consider the “seed

area” to be on the top surface of the pedestal—even after a selective etch back— and having a

linear surface dimension that ranges from about 10 nm to about 100 nm, as reflected in the second

recited claim step. Id. at ¶¶20–23. A skilled artisan would not understand that the “seed area”

exposed has suddenly disappeared because of the etch back. Rather, because the skilled artisan

views the pedestal and heteroepitaxial layer in terms of their crystal properties, and inherently
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knows that any atomic surface atop pedestal is suitable for epitaxial processing, then altering the

height of the pedestal would still result in a “seed area” on the top surface. Id. 2

        Consider a bathtub filled 50% with water. The top surface of the water does not remain at

the halfway mark if the tub is drained partially to 25% of its capacity. No reasonable person would

say that the top surface of the water level is some plane a few inches above the partially drained

tub.




Likewise, if water is added to the half-filled tub to make 75% full, no reasonable person would say

that the top surface of the water is some plane that is now under a few inches of water. Yet, that

is the non-sensical logic Defendants want this Court to apply. Such contrived and twisted reading

of the claims is enough to reject an indefiniteness challenge. See Microprocessor Enhancement

Corp. v. Texas Instruments Inc., 520 F.3d 1367, 1376 (Fed. Cir. 2008) (finding non-sensical




2
  Claim 1 of the ’400 Patent was asserted against Samsung and TSMC, neither of which argued that the
claimed steps resulted in a disappearing “seed area” rendering the claim indefinite. And both Samsung and
TSMC submitted expert declarations in support of their Markman arguments, but neither expert
experienced any difficulty in understanding the claim. In fact, Samsung relied on the testimony of
Dr. Jeffrey Bokor, the same expert Defendants tap here, to support its arguments. See Plaintiff’s Ex. 6
(Dec. 12, 2019 Bokor Decl.). In his Samsung declaration, Dr. Bokor did not express any hint of confusion
about how to perform the claimed method. In his threadbare declaration in this case, however, Dr. Bokor
suddenly says, “it is my opinion that a POSITA would not understand how to perform the method of claim 1
as drafted.” Dkt. 35-1 at 7. Dr. Bokor’s declaration is conclusory and is devoid of any technical rigor. See
Ex. 5 (Harris Decl.) at §¶24. He does not explain why or how a skilled artisan would read the claims to
describe a disappearing seed area or how that understanding squares with the remainder of the specification.
Id. His declaration simply parrots Defendants’ argument. Thus, Dr. Bokor’s newfound inability to
understand claim 1 deserves no weight. And as mentioned in UNM’s Opening Brief, Defendants had no
trouble understanding how to perform the method of claim 1 when they filed their request for inter partes
review.
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reading of claims as “indicative of the ease in determining the appropriate meaning of each of the

terms”).

       Defendants believe that the intrinsic record supports their fantasy, arguing that “the

specification distinguishes the exposed top surface in Figure 1D and the top surface of the pedestal

in 1A by referring to the former as “a seed area” and not “the seed area.” Defs.’ Br. at 13 (emphasis

in original). They quote the following for support: “Following the selective etch back, an epitaxial

layer is grown on the remaining portion of pedestal 12. The exposed top surface of

pedestal 12 provides a seed area for the epitaxial growth.” Id. (quoting ‘’400 Patent at 5:64-67).

Based on this, Defendants contend that “the specification contemplates that another seed area was

created when the pedestal 12 was etched back as a result of Step 5.” Id. (emphasis in original).

Defendants’ reading of the record is demonstrably false.

       First, Defendants omit the remainder of their cited portion of the specification. The full

quote confirms that “the seed area” of Figure 1D is the same seed area disclosed in the prior steps

and that Defendants misplace reliance on the use of the indefinite article.

       Following the selective etch back, an epitaxial layer is grown on the remaining
       portion of pedestal 12. The exposed top surface of pedestal 12 provides a seed area
       for the epitaxial growth. As described above, the seed area can have at least one
       dimension that is less than about 100 nm. Example configurations for the seed area
       include a rectangular area having with [sic] a width dimension ranging from about
       10 nm to about 100 nm and a length dimension ranging from about 200 nm to about
       2000 nm; or a circular area having a diameter ranging from, for example, about
       10 nm to about 100 nm.

’400 Patent at 5:64-6:6 (emphasis added). In other words, the specification shows that “the seed

area” of Figure 1C was not removed and still exists.

       Second, Defendants’ argument overlooks the specification’s discussion of Figures 2E and

2F, shown below.




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Figure 2E shows the pedestal with an exposed top surface, which “can be used without further

processing as a seed area for heteroepitaxial growth, if desired.” ’400 Patent at 7:21-23. “During

epitaxy,” the specification adds, “a single crystal semiconductor grows on the seed area 26 that is

shown exposed in FIG. 2E.” Id. at 7:23-24 (emphasis added).

       The specification then describes that “a further selective etch back of the seed material of

pedestal 12 can be carried out to form the sidewall barriers 18 prior to the epitaxial growth, as

illustrated in FIG. 2F.” Id. at 7:25-27. “Heteroepitaxial growth is then carried out between the

sidewall barriers 18. Sidewall barriers 18 can block the propagation of defects, such as stacking

faults and misfit dislocations, from the upper region of the heteroepitaxial layer.” Id. at 7:31-33.

Figure 2F delineates the seed area with the same label, 26, as used in Figure 2E. More important,

while the seed area in Figure 2F provides the additional benefit of the sidewall barriers that block

propagation defects, the specification does not differentiate between the seed areas in the two

figures for purposes of heteroepitaxial growth. To the contrary, in the remaining embodiments,

heteroepitaxial growth occurs on “seed areas.” See, e.g., ’400 Patent at 7:54-63 (describing growth

on seed areas in Figure 5); id. at 8:4-15 (same as to Figures 6 and 7); id. at 8:41-43

(“…heteroepitaxial growth proceeds from the exposed semiconductor surface, or seed area, of

pedestal 12”).

       The foregoing is consistent with the plain and ordinary meaning of “seed area,” which the

Court construed to be “the area on which epitaxial growth could occur.” (Emphasis added). As the


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claims and specification confirm, epitaxial growth could occur on the top surface of the pedestal

after the selective growth mask layer has been removed and/or after the top surface of the pedestal

has been selectively etched back. Defendants do not challenge or seek modification of the Court’s

construction of “seed area,” but the meaning of “seed area” strongly militates against crediting

Defendants’ contrived argument that the seed area disappears.

       Defendants misleadingly argue that an amendment during prosecution rendered claim 1

indefinite. Defs.’ Br. at 15. Defendants claim that the addition of Step 5, the etching back step,

eliminates the seed area formed in Step 2. Id. This argument is nothing more than an alternate

statement of Defendants’ distorted view of the claims and the record. Nothing in the file history

supports Defendants’ argument. To the contrary, the examiner did not reject the claim as amended

for being indefinite. If the addition of the claimed step resulted in the elimination of a seed area—

the use of which will lead to reduced defects—and a violation of §112, the examiner would have

made that objection during prosecution. See Energizer Holdings Inc. v. ITC, 435 F.3d 1366, 1370

(Fed. Cir. 2006) (rejecting indefiniteness challenge in part because the claims were not rejected or

objected to on the ground of no antecedent basis). The addition of Step 5 to the claims does not

eliminate the seed area formed in prior steps. Defendants’ invocation of the file history is mere

makeweight.

       Defendants also argue that the Court cannot redraft claims to resolve indefiniteness. This

is another straw man—one that is designed to shift impermissibly the burden of proving

definiteness to UNM. Defendants cannot put the proverbial cart before the horse and point the

finger at UNM. In any event, UNM’s interpretation of the claim language—an interpretation

uniformly held by prior defendants and Defendant in the IPR proceeding—accords with the plain

language of claims as well as the specification’s express teachings. Ex. 5 (Harris Decl.) at ¶¶19–



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23, 25; Trover Group, Inc. v. Dedicated Micros USA, 2015 WL 1263358, at *9 (E.D. Tex. Mar.

19, 2015) (Bryson, J., sitting by designation) (rejecting indefiniteness challenge because “the

concept is a disarmingly simple one”).

       C.       “heteroepitaxial layer”

       As explained in UNM’s Opening Brief, the Court’s prior construction of “heteroepitaxial

layer” should be adopted. See UNM Opening Br. at 5–6. Defendants contend that the insertion of

another instance of “crystalline” is necessary because both the underlying material and the layer

grown on it must be crystalline. Defs.’ Br. at 17. But the Court’s construction of the term accounts

for this mutuality of crystalline structure. The Court construed the term to be “a layer of crystalline

material grown on the seed area, but of a different material than of the seed area, that is based off

of the crystalline structure of the seed area.” (Emphasis added.). The Court’s construction thus

makes clear that both the grown material and the underlying material must have crystalline

structure. Furthermore, Defendants’ proposed addition creates a redundancy. The additional

“crystalline” that Defendants seek to add describes the structure of the grown material, as opposed

to the underlying material, but the first instance of crystalline in the Court’s construction—“a layer

of crystalline material grown”—does precisely that. Defendants’ proposed addition incorporates

wholly unnecessary verbiage and should be rejected.

       D.      “selective growth mask layer”

       The Court’s March 2020 construction of this term should be adopted without modification.

Defendants do not argue that the prior construction is incorrect or inconsistent with the intrinsic

record. Rather, Defendants contend that their proposed construction “will be more useful for the

jury” than the Court’s construction. The Court’s construction of the term is sufficiently clear and

understandable to a person of ordinary skill in the art as well as the jury, who will hear testimony

from experts about infringement and invalidity.

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       Even more than with the preceding term, Defendants again want to encumber the Court’s

prior construction with unnecessary language. Defendants all but concede that their proposal adds

nothing to the Court’s construction: “Defendants’ proposed modification simply makes explicit

what is implicit in Plaintiff’s construction.” Defs.’ Br. at 18. “Plaintiff’s construction” is the same

as the Court’s construction, and discussed in UNM’s Opening Brief, the Court’s construction

makes clear that the mask layer covers some areas of the underlying material and exposes other

areas of the underlying material and that epitaxial growth occurs on the exposed areas. Contrary

to Defendants’ suggestion, this construction provides more than enough clarity and guidance for

the jury as-is. The Court need not engage in unnecessary and superfluous claim construction

exercise. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (noting

that claim construction “is not an obligatory exercise in redundancy”).

       Further, as discussed in UNM’s Opening Brief at 7-9, Defendants’ proposed construction

risks confusing the jury because of its potential to exclude from the scope of the claim certain

embodiments, such as those in Figures 1E. In Figure 1E, growth of the heteroepitaxial layer occurs

up and over the sidewall barriers. While this lateral overgrowth is not growth “on” the sidewall, a

jury could misinterpret Defendants’ surplusage to disqualify embodiments or structures like those

in Figure 1E from the scope of the claim. That risk outweighs any alleged marginal benefit of

Defendants’ proposed construction.

       Defendants cite the specification’s disclosure that the selective growth mask layer can

“prevent or reduce nucleation at the pedestal sidewalls, thereby isolating the nucleation during

epitaxy to the top facet of the pedestal.” Defs.’ Br. at 19. But this portion of the specification

counsels against Defendants’ proposed construction, which appears to require complete prevention

of nucleation. Indeed, “reduced” nucleation is missing from Defendants’ proposed construction.



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At the very least, a lay juror might be confused and think that all nucleation must be prevented—

a view inconsistent with the specification.

       Defendants also argue that a person of ordinary skill in the art would understand the dual

purposes of the selective growth mask layer. But neither Defendants nor their expert argue that a

skilled artisan would find the Court’s construction unhelpful, confusing, or incomplete. As

Defendants concede, the notions that undergird their construction are already present in the Court’s

construction.

       Because the potential confusion of Defendants’ additional language easily surpasses any

purported utility to an expert or a juror, Defendants’ proposed construction should be rejected, and

the Court should adopt its prior construction in this case.

III.   Conclusion

       Neither the claims nor the specification mandate that the claim steps be performed in the

order recited, and Defendants cannot show otherwise. Moreover, the Court should summarily

reject Defendants’ illogical and strained contention that the claimed method results in removal of

the “seed area.” Defendants’ position is contrary to a plain reading of the claims, the specification’s

guidance, and common sense. The Court should likewise reject Defendants’ attempt to lard up the

Court’s prior constructions of “heteroepitaxial layer” and “selective growth mask layer” with

unnecessary and potentially confusing additional language. In short, the Court need not deviate

from the status quo ante.



Dated: September 25, 2020                      Respectfully submitted,


                                               By: /s/ Charles L. Ainsworth
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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 25, 2020 a true and correct copy of the foregoing was
served to any and all counsel of record via CM/ECF.


                                                            /s/ Charles L. Ainsworth
                                                            Charles L. Ainsworth




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